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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO
                          Judge Daniel D. Domenico

      Civil Action No. 1:23-cv-00134-DDD-MDB

      IVY HART, individually and as personal representative
      for the ESTATE of GLYN HART, deceased, and
      LUCAS HART, individually,

              Plaintiffs,
      v.

      CITY OF LA JUNTA;
      ARKANSAS VALLEY REGIONAL MEDICAL CENTER;
      MITCH ZGORZYNSKI, individually;
      TODD QUICK, individually; and
      JAMES BRADY,

              Defendants.


              ORDER ON MOTIONS FOR SUMMARY JUDGMENT


           Glyn Hart committed suicide with the drawstring of his hoodie while
      in his cell at the Otero County Jail. Prior to that, he had been evaluated
      by a doctor at Arkansas Valley Regional Medical Center, who released
      him into police custody. His children, Ivy and Lucas Hart, bring this case
      alleging the city, hospital, arresting officer, chief of police, and physician
      who evaluated their father violated his constitutional and statutory
      rights and caused his death. See Dkt. 1 at 13–20. His complaint alleges
      five federal claims (four Section 1983 claims and one claim under 42
      U.S.C. § 1395dd) and three claims under state law (two claims under
      C.R.S. § 13-21-131 and one common law claim).

           The Defendants have moved for summary judgment. See Dkt. 64, 65,
      67, 68. Plaintiffs’ federal claims must be dismissed for the reasons dis-
      cussed below. And though it appears Plaintiffs may have evidenced


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      genuine disputes of material fact regarding some of their state-law
      claims, exercising federal jurisdiction over the non-federal claims would
      be improper, so they are dismissed without prejudice.

                                   BACKGROUND

            On November 1, 2021, Glyn Hart crashed into a parked car while
      under the influence of drugs and alcohol. Dkt. 64 at 4; Dkt. 71 at 1. He
      was arrested at the scene by police and taken to Arkansas Valley Re-
      gional Medical Center to get medical clearance from a physician before
      he could be booked into the Otero County Jail. Dkt. 64 at 4; Dkt. 71 at
      2. During that process, Mr. Hart communicated that he was suicidal to
      both the arresting officer, Officer Mitch Zgorzynski, and the physician
      who evaluated him at the hospital, Dr. James Brady. Dkt. 64 at 4; Dkt.
      64-9 at 4.

            Following his evaluation, Dr. Brady determined Mr. Hart was medi-
      cally stable to be released into police custody and discharged him. Dkt.
      64 at 4–5; Dkt. 71 at 4, 6. In doing so, Dr. Brady filled out a medical
      clearance report with instructions to contact a mental health treatment
      center “if [Mr. Hart’s] suicidal ideation persists,” Dkt. 64 at 5; Dkt. 71 at
      6, and told Officer Zgorzynski “to watch [him and] have him come in for
      an evaluation when he is sober.” Dkt. 64 at 5; Dkt. 71 at 1. In response,
      Officer Zgorzynski said he would inform the staff at the jail about Mr.
      Hart’s condition and have him placed on suicide watch. Dkt. 64 at 5;
      Dkt. 71 at 1. After arriving at the Otero County Jail, however, Officer
      Zgorzynski placed Mr. Hart into a holding cell alone while he left to com-
      plete paperwork and field phone calls. Dkt. 71 at 3; Dkt. 91 at 2. Mr.
      Hart went unmonitored for an hour and fourteen minutes and, in that
      time, removed the drawstring from his hoodie, tied it to his cell bars,
      and committed suicide by asphyxiating himself. Dkt. 64 at 5; Dkt. 82 at
      11.


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                              STANDARD OF REVIEW

         A district court must grant summary judgment “if the movant shows
      that there is no genuine dispute as to any material fact and the movant
      is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The
      party moving for summary judgment bears the burden of demonstrating
      that no genuine dispute of material fact exists. Adamson v. Multi Cmty.
      Diversified Servs., Inc., 514 F.3d 1136, 1145 (10th Cir. 2008). A fact is
      material if it could affect the outcome of the suit under the governing
      law, and a factual dispute is genuine if a rational jury could find for the
      nonmoving party on the evidence presented. Id. If a reasonable juror
      could not return a verdict for the nonmoving party, summary judgment
      is proper, and there is no need for a trial. Celotex Corp. v. Catrett, 477
      U.S. 317, 323 (1986).

         In deciding whether the moving party has carried its burden, courts
      do not weigh the evidence, and instead must view it and draw all rea-
      sonable inferences from it in the light most favorable to the nonmoving
      party. Adamson, 514 F.3d at 1145; Scott v. Harris, 550 U.S. 372, 378
      (2007). But unsupported conclusory allegations or mere traces of evi-
      dence are not sufficient to demonstrate a genuine factual dispute. Maxey
      v. Rest. Concepts II, LLC, 654 F. Supp. 2d 1284, 1291 (D. Colo. 2009);
      Scott, 550 U.S. at 380 (“The mere existence of some alleged factual dis-
      pute between the parties will not defeat an otherwise properly supported
      motion for summary judgment; the requirement is that there be no gen-
      uine issue of material fact.”). And “[i]f a party fails to properly support
      an assertion of fact or fails to properly address another party’s assertion
      of fact . . . the court may . . . consider the fact undisputed for purposes of
      the motion.” Fed. R. Civ. P. 56(e)(2).




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                                    DISCUSSION

      Plaintiffs’ Complaint brings the following federal claims:

           •   Inadequate Physical Plant/Wrongful Death under Section 1983
               against the City of La Junta
           •   Inadequate Supervision/Wrongful Death under Section 1983
               against the City
           •   Inadequate Training/Wrongful Death under Section 1983 against
               the City
           •   Inadequate Staffing/Wrongful Death under Section 1983 against
               the City

      It brings the following state claims:

           •   Supervisory Liability/Wrongful Death under C.R.S. § 13-21-131
               against Chief Todd Quick
           •   Due Process/Wrongful Death under C.R.S. § 13-21-131 against
               Officer Mitch Zgorzynski
           •   Negligence/Wrongful Death against Dr. James Brady

           The motions for summary judgment relate to all these claims, but I
      begin with the federal claims.

      I.       The Emergency Medical Treatment and Active Labor Act
               Claim against Arkansas Valley Regional Medical Center

           The Emergency Medical Treatment and Active Labor Act (the Act, or
      EMTALA), 42 U.S.C. § 1395dd, was enacted to prevent hospitals from
      “dumping” patients that they could treat but who could not pay for ser-
      vices. 1 Ingram v. Muskogee Reg. Med. Ctr., 235 F.3d 550, 551 (10th Cir.
      2000). Hospitals have two primary obligations under the Act. “First, the



      1 The Sixth, Ninth, and D.C. Circuits have held that the express lan-

      guage of the Act makes it clear it “applies to any and all patients, not
      just to patients with insufficient resources.” Brooker v. Desert Hosp.
      Corp., 947 F.2d 412, 415 (9th Cir. 1991); see also Gatewood v. Wash.
      Healthcare Corp., 933 F.2d 1037, 1039–41 (D.C. Cir. 1991); Cleland v.
      Bronson Health Care Grp., Inc., 917 F.2d 266, 268–269 (6th Cir. 1990).


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      hospital must conduct an initial medical examination to determine
      whether the patient is suffering from an emergency medical condition.”
      Phillips v. Hillcrest Med. Ctr., 244 F.3d 790, 796 (10th Cir. 2001). Sec-
      ond, if an emergency medical condition exists, the hospital must “stabi-
      lize the patient before transporting him or her elsewhere.” Id.

         The Act has significant limits, however. It is “not a substitute for
      state law on medical malpractice, [and] [i]t was not intended to guaran-
      tee proper diagnosis or to provide a federal remedy for misdiagnosis or
      medical negligence.” Neeseman v. Mt. Sinai West, No. 17-cv-1766 (LGS),
      2018 WL 626358, at *4 (S.D.N.Y. Jan. 30, 2018) (quoting Hardy v. N.Y.C.
      Health & Hosp. Corp., 164 F.3d 789, 792 (2nd Cir. 1999); see 42 U.S.C.
      § 1395dd(f) (“The provisions of this section do not preempt any State or
      local law requirement.”); Lorenz v. Managing Dir., St. Luke’s Hosp., No.
      09-cv-8898 (DAB) (JCF), 2010 WL 4922267, at *8 (S.D.N.Y. Nov. 5, 2010)
      (EMTALA was “not intended to create a federal malpractice statute or
      cover cases of hospital negligence.” (citation omitted)); Baber v. Hosp.
      Corp. of Am., 977 F.2d 872, 880 (4th Cir. 1992) (“Questions regarding
      whether a physician or other hospital personnel failed properly to diag-
      nose or treat a patient's condition are best resolved under existing and
      developing state negligence and medical malpractice theories of recov-
      ery.”).

         In order to state a claim under the Act, therefore, “a plaintiff must
      allege that he went to the emergency room of a participating hospital
      seeking treatment for a medical condition, and that the hospital did not
      adequately screen him to determine whether he had an emergency med-
      ical condition, or discharged or transferred him before such a condition
      had been stabilized.” Kolari v. N.Y.-Presbyterian Hosp., 382 F. Supp. 2d
      562, 573–574 (S.D.N.Y. 2005) (vacated in part on other grounds, 455
      F.3d 118 (2nd Cir. 2006)).



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         Plaintiffs do not claim inadequate screening by the hospital. See Dkt.
      71 at 1 n. 1 (“Plaintiffs did not plead a screening claim, (ECF 1, ¶¶ 98,
      99) and are not pursuing one here.”). Plaintiffs instead allege the hospi-
      tal failed to stabilize Mr. Hart before releasing him to law enforcement
      in violation of Section 1395dd(b)(1)(A). Dkt. 1 at 19. Under the Act, the
      stabilization requirement for Mr. Hart was triggered once the hospital
      learned he had an emergency medical condition. See 42 U.S.C. §
      1395dd(b)(1). The hospital does not dispute that Mr. Hart had an “emer-
      gency medical condition”—suicidal ideation—under the Act. See Dkt. 64
      at 11; See Eberhardt v. City of L.A., 62 F. 3d 1253, 1258–59 (9th Cir.
      1995) (noting federal courts recognize suicidality as an emergency med-
      ical condition under EMTALA). Rather, it argues Mr. Hart was stabi-
      lized at the time he left the hospital and thus the requirements of the
      Act were met.

         The Act defines “stabilized” as a state in which “no material deterio-
      ration of the condition is likely, within reasonable medical probability,
      to result.” § 1395dd(e)(3)(B). This is a legal, not a medical conclusion. “A
      patient may be in a critical condition and still be stabilized under the
      terms of the Act, and the Act does not require a hospital to alleviate
      completely a patient’s emergency condition.” Brooker, 947 F.2d at 415
      (cleaned up).

         Under these standards, and viewing the material facts in the light
      most favorable to Plaintiffs, I agree with Arkansas Valley that the un-
      disputed evidence shows that the hospital met the stabilization condi-
      tions for Mr. Hart prior to his release into police custody. It’s undisputed
      that Dr. Brady was aware of Mr. Hart’s suicidal ideation at his admis-
      sion, and that this was an emergency medical condition that required
      stabilization prior to being released. Dkt. 64-3 at 8–9; Dkt. 64-4 at 5 (Dr.
      Brady’s Depo.). It’s also undisputed that Dr. Brady could not conduct a



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      full mental health evaluation of Mr. Hart due to his intoxication, see
      Dkt. 64-3 at 9, and that the common practice in an emergency room con-
      text for this situation is to return “a suicidal arrestee without an acute
      medical condition [] into police custody” and bring him back for “an eval-
      uation when he was sober.” 2 Dkt. 64-14 at 4 (Perry Expert Report); Dkt.
      64-3 at 2 (Off. Zgorzynski Depo.). Before that occurred, however, Dr.
      Brady screened Mr. Hart for signs that he might hurt himself, whether
      he had physical trauma, a head injury, broken bones, was able to walk
      independently or was at risk of falling, at risk of aspirating from vomit,
      or if he had severe dehydration. Dkt. 64-4 at 3–5. After he determined
      Mr. Hart was medically stable, Dr. Brady filled out discharge papers
      and the Otero County Sheriff’s Office Medical Clearance Report, which
      included a specific note that if suicidal ideation persisted, officers should
      contact a mental health facility. Dkt. 64-5 at 11. It’s also undisputed
      that Officer Zgorzynski testified that before Mr. Hart was released, Dr.
      Brady told him “to watch Hart but have him come in for an evaluation
      after he was sober,” Dkt. 64-3 at 2, and that he would inform staff “at
      Otero County Jail to put Mr. Hart on suicide watch.” Id. at 9–10. After
      a forty-minute visit to the hospital, Mr. Hart was released into police
      custody.

         Against this, Plaintiffs provide no competent evidence that would
      permit a reasonable juror to conclude that it was likely Mr. Hart’s con-
      dition would “materially deteriorate” after release or that Mr. Hart was
      treated any differently than other patients in similar conditions. See St.
      Anthony Hosp. v. U.S. Dep’t. of Health and Hum. Servs., 309 F.3d 680,
      697 (10th Cir. 2002) (noting EMTALA’s definition of stability is “no



      2 Plaintiffs do not dispute that the hospital staff evaluates arrestee-pa-

      tients two to three times daily “to determine if they are safe for transfer
      to [police custody].” Dkt. 71 at 3.


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      material deterioration of the condition is likely, within reasonable med-
      ical probability”) (emphasis in original). Plaintiffs point to their expert,
      Dr. Pilcher, who does indeed state that in his opinion, Mr. Hart was not
      stable when the hospital released him to custody. See Dkt. 64-11 at 4
      (Pilcher Expert Report). Other than this ultimate conclusion, however,
      Dr. Pilcher’s opinion does not actually contradict that of Dr. Brady or
      others from the hospital. In fact, Dr. Pilcher also testified that no mate-
      rial deterioration was likely to result by discharging Mr. Hart into police
      custody had police followed its policies to ensure his safety. See Dkt. 64-
      9 at 15. This is precisely Arkansas Valley’s position. See Dkt. 64 at 11–
      14.

            The only question then is whether it was reasonable for hospital of-
      ficials to believe police would follow their suicide-prevention policies. All
      the evidence supports the conclusion that it was. See Dkt. 64-12 at 4
      (Sovndal Expert Report); 64-13 at 4 (Stansbury Expert Report); 64-14 at
      4 (Perry Expert Report); 64-15 at 4 (Smith Expert Report). And Dr.
      Pilcher admitted he had no basis to question that presumption. See Dkt.
      64-9 at 9 (Q: “So in your entire 44-year career, you can never recall a
      situation where you had an intoxicated person, under arrest, brought to
      the emergency department and they expressed self-harm? A.·I cannot
      recall a single case.”). Ultimately, while Dr. Pilcher does frame his opin-
      ion in terms of stabilization, his testimony on this point is either a legal
      rather than medical conclusion, see, e.g., Dkt. 64-11 at 4 (“Dr. Brady’s
      discharge of an unstable patient is an EMTALA violation in that an ad-
      equate medical screening exam was never done.”), conclusory, see, e.g.,
      id. (“Being suicidal is a red flag for being unstable.”), or it misstates the
      standard. Id. (“Mr. Hart had an emergency behavioral health condition,
      was unstable when he arrived at the hospital and was no better when
      he arrived at the jail.”); cf. 42 U.S.C. § 1395dd(e)(3)(B) (standard is to



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      avoid “material deterioration,” not to resolve it); see also Brooker, 947
      F.2d at 415 (“The Act does not require [a hospital] to alleviate completely
      [a patient’s] emergency condition.”). Had the hospital simply released
      Mr. Hart and sent him off on his own (“patient-dumping”), or had it sent
      him back to police custody without informing them of his suicidal idea-
      tions, then it might be said that his condition was likely to deteriorate.
      But that is not what the undisputed facts show.

         Overall, Dr. Pilcher’s testimony shows at most a disagreement about
      whether the hospital and Dr. Brady’s treatment was reasonable under
      the circumstances. He and Plaintiffs may be right that Arkansas Valley
      should have done more to ensure that police would not let Mr. Hart harm
      himself. In hindsight, it is obvious everyone should have done more. But
      disputes between medical professionals about the reasonableness of a
      treatment and observation plan are what traditional medical malprac-
      tice actions are meant to answer. It is not what EMTALA does. See Gate-
      wood, 933 F.2d at 1040–41 (“[W]e cannot agree that [EMTALA] creates
      a sweeping federal cause of action with respect to what are traditional
      state-based claims of negligence or malpractice.”); Bryan v. Rectors &
      Visitors of the Univ. of Va., 95 F.3d 349, 351–52 (4th Cir. 1996) (same);
      Thornton v. S.W. Detroit Hosp., 895 F.2d 1131, 1134 (6th Cir. 1990)
      (same); Summers v. Baptist Med. Ctr. Arkadelphia, 91 F.3d 1132, 1136–
      37 (8th Cir. 1996) (same); Deberry v. Sherman Hosp. Ass'n, 741 F.Supp.
      1302, 1305 (N.D. Ill. 1990) (same); Ingram, 235 F.3d at 552 (same).

         To be sure, some courts appear to have allowed similar cases to pro-
      ceed. See Endicott v. Choctaw Cty. City of Hugo Hosp. Auth., No. CIV-
      21-319-RAW, 2023 WL 6323077, at *5 (E.D. Okla. Sept. 28, 2023); Mar-
      tinez v. Lea Reg’l Hosp. LLC, No. 2:21-cv-1191-WJ-GJF, 2022 WL
      17584023, at *8–9 (D.N.M. Dec. 12, 2022); Jones v. Beth Israel Hosp.,
      No. 1:17-cv-3455-GHW, 2018 WL 1779344, at *8 (S.D.N.Y. Apr. 12,



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      2018); Mahone v. Med. Ctr., Inc., No. 17-cv-113 (MSH), 2017 WL
      6559911, at *8–9 (M.D. Ga. Dec. 22, 2017). The temptation to follow
      them, given the tragic outcome here, is strong. But “[c]onsistent with the
      statutory language, the legislative history shows that Congress enacted
      EMTALA not to improve the overall standard of medical care, but to
      ensure that hospitals do not refuse essential emergency care because of
      a patient’s inability to pay.” Eberhardt, 62 F.3d at 1258. Here, there is
      evidence that might support the conclusion that Arkansas Valley acted
      negligently, and there are state remedies for such claims. 3 There is no
      evidence, however, that its decision was any different than it would have
      been with any other patient in the same condition. This federal statute
      then is not implicated and this claim must be dismissed.

      II.      Section 1983 Claims Against the City of La Junta

            Plaintiffs bring four Section 1983 claims against the City of La Junta,
      each alleging that the City is liable for Mr. Hart’s suicide for slightly
      different reasons. Dkt. 1 at 13–17. Municipal institutions are subject to
      suits under Section 1983, but they cannot be sued vicariously “for an
      injury solely inflicted by its employees or agents.” Monell v. Dep’t of Soc.
      Servs. of City of N.Y., 436 U.S. 658, 694 (1978). Rather, to be held liable
      the municipality itself must have been the “moving force” behind the
      alleged constitutional violation, either through official policy or wide-
      spread and pervasive custom. See City of Canton v. Harris, 489 U.S. 378,
      388–89 (1989). To plead a claim against a municipality under Section
      1983, a plaintiff must allege that: “(1) an official policy or custom (2)
      caused the plaintiff’s constitutional injury and (3) that the municipality
      enacted or maintained that policy with deliberate indifference to the risk
      of that injury occurring.” George v. Beaver Cnty., 32 F.4th 1246, 1253



      3 See Section III, below.




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      (10th Cir. 2022) (citing Schneider v. City of Grand Junction Police Dep’t,
      717 F.3d 760, 769–71 (10th Cir. 2013)). A plaintiff may demonstrate a
      municipal policy or custom through several methods, including: (1) a for-
      mal regulation or statement, (2) informal custom that amounts to a
      widespread practice, (3) decisions of employees with final policymaking
      authority, (4) ratification by policymakers of decisions of subordinates,
      or (5) the failure to adequately train or supervise employees in a way
      that amounts to deliberate indifference. See Waller v. City & Cnty. of
      Denver, 932 F.3d 1277, 1283–84 (10th Cir. 2019) (quotation marks omit-
      ted).

         Although Plaintiffs bring four separate claims, they all require the
      same fundamental showing in these circumstances: “claims based on a
      jail suicide are considered and treated as claims based on the failure of
      jail officials to provide medical care for those in their custody.” Barrie v.
      Grand Cnty., 119 F.3d 862, 866 (10th Cir. 1997). A constitutional viola-
      tion of this kind occurs when a prison official . . . acts with deliberate
      indifference to a substantial risk of harm to inmate health or safety. See
      Farmer v. Brennan, 511 U.S. 825, 834 (1994); Estelle v. Gamble, 429 U.S.
      97, 104 (1976). 4 “A claim of deliberate indifference includes both an ob-
      jective and a subjective component.” Al-Turki v. Robinson, 762 F.3d
      1188, 1192 (10th Cir. 2014). A plaintiff must satisfy both components.
      Rife v. Okla. Dept. of Pub. Safety, 854 F.3d 637, 647 (10th Cir. 2017).
      The City does not dispute that Mr. Hart’s suicide fulfills the objective



      4 This test was originally created in the context of the Eighth Amend-

      ment, which applies after conviction; however, the same test applies un-
      der the Fourteenth Amendment to pre-trial detainees, such as in this
      case. See Garcia v. Salt Lake Cnty., 768 F.2d 303, 307 (10th Cir. 1985)
      (“Nevertheless, pretrial detainees are in any event entitled to the degree
      of protection against denial of medical attention which applies to con-
      victed inmates.”).


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      component, and Plaintiffs focus on the subjective component.

         To meet the subjective requirement of a deliberate indifference
      claim, a plaintiff must show that a prison official knew of and disre-
      garded an “excessive risk” to his health or safety by failing to take rea-
      sonable measures to abate it. Self v. Crum, 439 F.3d 1227, 1231 (10th
      Cir. 2006) (quotations omitted). “[T]he official must both be aware of
      facts from which the inference could be drawn that a substantial risk of
      serious harm exists, and he must also draw the inference.” Mata v. Saiz,
      427 F.3d 745, 751 (10th Cir. 2005) (brackets omitted) (quoting Farmer,
      511 U.S. at 837). A fact-finder may conclude a prison official knew of a
      substantial risk when the risk was obvious. See Prince v. Sheriff of
      Carter Cnty., 28 F.4th 1033, 1045 (10th Cir. 2022). But this requires
      showing that in the circumstances, “a violation of federal rights is a
      highly predictable or plainly obvious consequence of a municipality’s ac-
      tion or inaction.” Barney v. Pulsipher, 143 F.3d 1299, 1307–08 (10th Cir.
      1998) (citing Bd. of Cnty Comm’rs v. Brown, 520 U.S. 397, 409 (1997)).

         Plaintiffs’ claims point to four policies or customs that they say
      caused Mr. Hart’s suicide: inadequate supervision, inadequate training,
      inadequate staffing, and inadequate physical facilities. Dkt. 1 at 13–18.
      While different theories, each of these requires the same rigorous show-
      ing of causation and culpability. “Where a plaintiff claims that the mu-
      nicipality has not directly inflicted an injury, but nonetheless has caused
      an employee to do so, rigorous standards of culpability and causation
      must be applied to ensure that the municipality is not held liable solely
      for the actions of its employee.” Brown, 520 U.S. at 405. “The causation
      element is applied with especial rigor when the municipal policy or prac-
      tice is itself not unconstitutional, for example, when the municipal lia-
      bility claim is based upon inadequate training, supervision, and defi-
      ciencies in hiring.” Schneider, 717 F.3d at 770 (internal quotation



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      omitted).

         The failures Plaintiffs point to include that the jail’s policy of check-
      ing on inmates every fifteen minutes is inadequate to prevent suicide
      even if followed, that the policy of logging those welfare checks was not
      enforced, that it did not implement any suicide mitigation techniques or
      provide arrestees with suicide-proof garments, that officers were not
      provided training on how quickly a suicide can occur, that officers (like
      Officer Zgorzynski) were required to both watch detainees and fill out
      paperwork, that dispatchers were also used to watch detainees, and that
      the conditions of the jail were inadequate to house suicidal arrestees.
      See Dkt. 83 at 8–14. Even assuming all this is true, however, it does not
      support a reasonable inference that the City was deliberately indifferent
      to a known risk.

         Suicide is of course a known risk, both in jail settings in general, and
      specifically in Mr. Hart’s case. But the facts here, even in the light most
      favorable to Plaintiffs, do not show deliberate indifference to that risk
      by City officials. Instead, the undisputed facts show that the City had
      policies in place specifically meant to mitigate this risk. It got most of
      those policies from a widely used national provider of jail policies and
      trainings. Dkt. 65 at 4. Its actual policy was to check on detainees every
      fifteen minutes. Dkt. 65-4 at 9. That was not done here. Its actual policy
      would have removed the means Mr. Hart used to commit suicide. Dkt.
      65 at 12. That was not done here.

         Plaintiffs do not contest any of this. They respond in three main
      ways. One, they argue that the City was knowingly violating its own
      policies. Dkt. 83 at 7–10. But the policy knowingly being violated was
      the requirement to log the fifteen-minute checks. Id. at 8–9. While log-
      ging the checks would be a best practice, there is no reasonable argu-
      ment that failure to log checks was the cause of Mr. Hart’s suicide.


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         Two, Plaintiffs argue that while removing Mr. Hart’s hoodie string
      might have prevented this particular means of suicide, this merely cre-
      ates a fact dispute about whether Mr. Hart would have committed sui-
      cide by some other means because he could have “retain[ed] possession
      of clothing he could use to fashion a ligature.” Id. at 11. Plaintiffs point
      to no authority, however, that supports the conclusion that municipal
      liability under Monell can be based on a City’s failure to prevent an al-
      ternative, hypothetical harm rather than the actual harm that occurred.
      Nor do they explain what reasonable means the City could put in place
      to remove any such clothing that might be used to fashion a ligature.

         Third, Plaintiffs argue that the City did not do enough to train em-
      ployees or provide them with sufficient tools to prevent suicide. Id. at 7,
      9. But it is not enough to say that officers could have had more training,
      or that an officer admitted that additional training would have been
      helpful. See id. at. 12. Plaintiffs in these cases must meet the very diffi-
      cult burden of showing not just that the City could have done more, and
      not even that the City knew it could do more. Plaintiffs must show that
      the City knew that without doing more (whether it comes to training,
      enforcing policies, staffing, or facilities) its employees were likely to de-
      prive citizens of their constitutional rights. See Waller 932 F.3d at 1284.

         And here, there is no reason in the record for the City and its policy-
      makers to think that it was “highly predictable” or “plainly obvious” that
      their policies would lead to a detainee’s suicide. See Barney, 143 F.3d at
      1307–08. The evidence is that in prior years there had been two suicide
      attempts, both of which were prevented by staff intervention. Dkt. 97 at
      7. This is not enough to put the City on notice. See Pittman ex rel. Ham-
      ilton v. Cnty. of Madison, Ill., 746 F.3d 766, 780 (7th Cir. 2014) (“The
      bare fact that other inmates attempted suicide does not demonstrate
      that the jail's policies were inadequate, that officials were aware of any



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      suicide risk posed by the policies or that officials failed to take appropri-
      ate steps to protect [a particular inmate].”). The evidence is that the City
      had in place common policies intended to mitigate the very risk that
      came to pass in this case. To the extent the evidence shows that the City
      knew those policies were not followed, it was in respect to documenta-
      tion, not to anything that would have prevented the harm here. On the
      other hand, its policy against leaving detainees with dangerous items of
      clothing was material in this case, but there is no evidence to support
      the inference that the City should have known that it would be violated.
      In sum, the City had no reason to believe its policies and practices were
      likely to lead to a successful suicide attempt. 5 Tragic as it is, the law
      does not permit application of hindsight to cases such as this, so these
      claims must be denied.

      III.   State Claims

         Because all of Plaintiffs’ federal claims are dismissed, pursuant to 28
      U.S.C. § 1367(c)(3), it would not be proper to exercise jurisdiction over
      Plaintiffs’ remaining three state claims. See Smith v. City of Enid, 149
      F. 3d 1151, 1156 (10th Cir. 1998) (“When all federal claims have been
      dismissed, the court may, and usually should, decline to exercise juris-
      diction over any remaining state claims.”). That is particularly appro-
      priate in this case where at least some of those claims appear to present
      relatively novel questions of state law and may have some merit. The
      state-law claims are therefore dismissed without prejudice to refiling in
      state court. 6


      5 Plaintiffs’ failure to meet their burden on this point undermines all of

      their claims. So, while it is true, as Plaintiffs note, that the City’s motion
      for summary judgment does not address their claims under inadequate
      staffing or physical facility theories in detail, those claims still fail for
      this reason.
      6 Declining to exercise jurisdiction does not foreclose relief in the event



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                                   CONCLUSION

         It is ORDERED that:

         The Motions for Summary Judgment, Dkt. 64, 65, 67, 68, are
      GRANTED;

         Plaintiffs’ federal claims are DISMISSED; and

         Plaintiffs’ state-law claims are DISMISSED without prejudice to re-
      filing in state court.

         The Clerk of Court is directed to close this case.



      DATED: March 19, 2025                 BY THE COURT:



                                            Daniel D. Domenico
                                            United States District Judge




      Plaintiffs refile their claims in state court. See 28 U.S.C. § 1367(d).


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